                    UNITED STATES BANKRUPTCY COURT
                     EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION


In re:                                                Case No. 23-43403-mlo
                                                      Chapter 11
Ark Laboratory, LLC,                                  Hon. Maria L. Oxholm


                              Debtor.


      ORDER RESOLVING THE LIQUIDATING TRUSTEE’S MOTION FOR
       ORDER DIRECTING STEVEN N. NOFAR OF NOFAR LAW PLLC TO
     PRODUCE DOCUMENTS AND, IF NECESSARY, DIRECTING STEVEN N.
      NOFAR TO APPEAR FOR ORAL EXAMINATION PURSUANT TO RULE
        2004 OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

         THIS MATTER is before the court on the Stipulation of the Liquidating

 Trustee1 and Nofar Law resolving the 2004 Motion;

         NOW THEREFORE, IT IS HEREBY ORDERED that the Liquidating

 Trustee is authorized to take Nofar’s oral examination (“Examination”) at a date,

 time and location mutually agreed upon by the Liquidating Trustee and Nofar or, in

 the event that a mutually agreed upon date, time and location is unable to be

 established after the Liquidating Trustee has made reasonable efforts to schedule the

 Examination, upon seven (7) days’ advance notice. The Liquidating Trustee shall file



 1
  Capitalized terms not otherwise defined in this Order shall have the same meaning
 ascribed in the Stipulation.
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     23-43403-mlo   Doc 525    Filed 02/09/24       Entered 02/09/24 15:23:12   Page 1 of 2
a Notice of Deposition with the Court and serve same on Nofar at least seven (7)

days in advance of the agreed upon or proposed Examination date, time and location.

Signed on February 9, 2024




                                              2

 23-43403-mlo    Doc 525     Filed 02/09/24       Entered 02/09/24 15:23:12   Page 2 of 2
